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                                          UNITED STATES DISTRICT COURT
14
                                         NORTHERN DISTRICT OF CALIFORNIA
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16
   SARAH BLANSETTE, individually, and on                   Case No. 4:23-cv-00006-HSG
17 behalf of those similarly situated,

18                          Plaintiff,                     SECOND STIPULATION EXTENDING
                                                           OPPOSITION AND REPLY DEADLINE
19              v.                                         FOR MOTION TO TRANSFER (DKT.
20 RAEL, INC.,                                             36) AND ORDER

21                          Defendant.                     Hon. Haywood S. Gilliam, Jr.
22
                                                           Date Action Filed:   January 3, 2023
23
                                                           Trial Date:   Not Set
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     2610/035774-0010
     19328279.1 a06/28/23      STIPULATION EXTENDING OPPOSITION AND REPLY DEADLINES
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 1                                                      RECITALS.

 2             1.           On June 7, 2023, Defendant Rael, Inc. (“Rael”) filed a motion to transfer this case

 3 pursuant to 28 U.S.C. § 1404(a) (the “Motion”). (Dkt. 36.) The Motion is set for hearing on

 4 September 7, 2023.

 5             2.           The parties are currently working to document a settlement of this action. On June

 6 21, 2023, the parties submitted a joint stipulation to extend the opposition and reply deadlines

 7 related to the Motion for one week to allow time for that process. (Dkt. 37.) The Court entered

 8 that stipulation, such that Plaintiff Sarah Blansette’s (“Plaintiff’s”) opposition to the Motion is

 9 currently due on June 28, 2023, and Rael’s reply is due on July 5, 2023. (Dkt. 39.)

10             3.           The parties have been in the process of exchanging draft settlement documents and

11 are now obtaining client signatures. To allow time to complete this process, they have therefore

12 agreed to extend the opposition and reply deadlines related to the Motion for an additional week to

13 allow time to complete that process.

14                                                    STIPULATION.

15             Based on the foregoing, the parties stipulate as follows, and request that the Court enter the

16 concurrently filed [Proposed] Order:

17             1.           The current filing deadline for Plaintiff’s opposition to the Motion shall be

18 extended one week to July 5, 2023.

19             2.           The current filing deadline for Rael’s reply in support of the Motion shall be

20 extended one week to July 12, 2023.
21             IT IS SO STIPULATED.

22 Dated: June 28, 2023                                       RUTAN & TUCKER, LLP

23                                                            By: /s/ Lucas K. Hori
                                                                  Lucas K. Hori
24                                                                Attorneys for Defendant
                                                                  RAEL, INC.
25
     Dated: June 28, 2023                                     GOOD GUSTAFSON AUMAIS LLP
26

27                                                            By: /s/ J. Ryan Gustafson
                                                                  J. Ryan Gustafson
28                                                                Attorneys for Plaintiff
                                                                  SARAH BLANSETTE
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 1                                                           ORDER

 2             Based on the stipulation of the parties and for good cause shown, the Court ORDERS that:

 3             1.           The filing deadline for Plaintiff Sarah Blansette’s opposition to Defendant Rael

 4 Inc.’s (“Rael”) motion to transfer this case pursuant to 28 U.S.C. § 1404(a) (the “Motion”) filed at

 5 CM/ECF No. 36 shall be extended one week to July 5, 2023.

 6             2.           The filing deadline for Rael’s reply in support of the Motion shall be extended one

 7 week to July 12, 2023.

 8

 9             IT IS SO ORDERED.

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11    Dated:        6/29/2023

12                                                                 HON. HAYWOOD S. GILLIAM, JR.
                                                                       United States District Judge
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     2610/035774-0010
     19328279.1 a06/28/23     STIPULATION EXTENDING OPPOSITION AND REPLY DEADLINES
